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                                                                     Friday, 26 April, 2013 02:07:41 PM
                                                                          Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                    URBANA DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
                     v.                      )                    No. 12-20068
                                             )
ERICA KULAK,                                 )
                                             )
                             Defendant.      )

              ORDER APPROVING MAGISTRATE RECOMMENDATION

       On April 3, 2013, a Report and Recommendation (#89) was filed by United States

Magistrate Judge David G. Bernthal in the above cause. More than ten (10) days have elapsed

since the filing of the recommendation and no objections have been made. See 28 U.S.C. §

636(b)(1).

       This court therefore approves the recommendation of the Magistrate Judge. See Video

Views, Inc. v. Studio 21, Ltd., 797 F.2d 538 (7th Cir. 1986). Accordingly, the defendant’s plea of

guilty is accepted by the Court and the defendant is adjudged guilty. The Court orders that a pre-

sentence investigation report is to be prepared. A sentencing hearing remains set for August 1,

2013, at 2:30 p.m.

                             ENTERED this 26th day of April, 2013

                                   s/ Michael P. McCuskey
                                  MICHAEL P. McCUSKEY
                                   U.S. DISTRICT JUDGE
